Case 1:25-cv-01405

JS-44 (Rev. 11/2020 DC)

Document 1-1

CIVIL COVER SHEET

Filed 05/08/25

Page 1 of 2

1. (a) PLAINTIFFS

immigrant Defenders Law Center

Angelica S., Eduardo M., Liam W., Leo B., Xavier L., and

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF N/A, LR 5.4

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

U.S. Dep't of Health and Hurnan Services, Robert F. Kennedy Jr.,
in his official capacity as Secretary of Health and Human Services,
and Angie Salazar, in her official capacity as Acting Director of the
Office of Refugee Resettlement

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT

(IN U.S. PLAINTIFF CASES ONLY)
NOTE IN LAND CONDEMNATION CASES, USE THE LOCATION OF TILE TRACT OF LAND INVOLVED

Washington, D.C. 20043, (202) 448-9090

(c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER}
David Hinojosa, National Center for Youth Law, 818 Connecticut
Ave. NW Ste 425, Washington, DC 20006, (202) 868-4782;

Joel McElvain, Democracy Forward Foundation, P.O. Box 34553.

ATTORNEYS (IF KNOWN)

II. BASIS OF JURISDICTION

If. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN GNE BOX FOR

Ci 1US, Government
Plaintiff

fe] 2US. Government
Defendant

(PLACE AN x IN ONE BOX ONLY)

Cl] 3 Federal Question
(US Government Not a Party)

Cl 4 Diversity

(Indicate Citizenship of
Parties in item 111)

Cuzen ofthis State

Citizen of Another State Ck Ci)

Citizen or Subject ofa
Foreign Country

PTF

C1

DFT

Ci

PLAINTIFF ANDONE BOX FOR DEFENDANT) FOR DIVERSITY CASESONLY!

PTF DFT

Incorporated or Principal Place Ci. Ch

of Business in This State

Incorporated and Principal Place [1s Cs

of Business in Another State

Eb Ch

Foreign Nation

[-1e (6

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

EI] A. Antitrust

(]410 Antivust

CI B. Personal Injury/
Malpractice

(1 310 Airplane

(1315 Airplane Product Liability

[__] 320 Assault, Libel & Slander

[_] 330 Federal Employers Liability

(1340 Marine

[J 345 Marine Product Liability

{_) 350 Motor Vehicle

[1355 Motor Vehicle Product Liability

[_] 360 Other Personal Injury

CI 362 Medical Malpractice

[1] 365 Product Liability

Cc 367 Health Care/Pharmaceutical
Personal Injury Product Liability

Cc) 368 Asbestos Product Liability

C1 C. Administrative Agency
Review

(_] 151 Medicare Act

Social Securi
[_] 861 HIA (13951

[_] 862 Black Lung (923)

(J 863 DIWC/DIWW (405(2))
([) 864 SSID Title XVI

(-] 865 RSI (405¢2))

Other Statutes

CI 891 Agricultural Acts

(_] 893 Environmental Matters

Cy 890 Other Statutory Actions (IF
Administrative Agency is
Involved)

E.) D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(If Antitrust, then A governs)*

E=] E. General Civil (Other)

OR

[F-] F. Pro Se General Civil

[_] 220 Foreclosure

(240 Torts to Land

Personal Property
{_]370 Other Fraud

Damage

[J] 210 Land Condemnation
[_] 230 Rent, Lease & Ejectment

[_) 245 Tort Product Liability
[__] 290 All Other Real Property

(J 371 Truth in Lending
[] 380 Other Persona! Property

(385 Property Damage
Product Liability

Bankruptcy
[J 422 Appeal 28 USC 158

e 535 Death Penalty
540 Mandamus & Other

(7) 550 civil Rights
CI 555 Prison Conditions

of Confinement

| 820 Copyrights

[_] 830 Patent

Drug Application
C) 840 Trademark

2016 (DTSA)

(__] 423 Withdrawal 28 USC 157

§60 Civil Detainee — Conditions

(] 835 Patent — Abbreviated New

C 880 Defend Trade Secrets Act of

[_] 375 False Claims Act

[__] 376 Qui Tam (31 USC
3725{a))

CI 400 State Reapportionment

[_] 430 Banks & Banking

{_] 450 Commerce/ICC Rates/etc

[__] 460 Deportation

(__] 462 Naturalization
Application

Federal Tax Suits

() 870 Taxes (US plaintiffor {] 465 Other Immigration Actions
defendant) [_] 470 Racketeer Influenced

C871 ae ees & Corrupt Organization

CI 480 Consumer Credit

Forfeiture/Penalty [3 485 Telephone Consumer

[__] 625 Drug Related Seizure of Protection Act (TCPA)
Property 21 USC 881 [) 490 Cable/Satellite TV

[] 690 Other [__] 850 Securities‘Commodities/

Exchange
Other Statutes (__] 896 Arbitration

[] £99 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[] 950 Constitutionality of State
Statutes

[__] 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

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[7 G. Habeas Corpus/
2255

CJ 530 Habeas Corpus — General

(J 510 Motion/Vacate Sentence

[-) 463 Habeas Corpus — Alien
Detainee

CI H. Employment
Discrimination
(_) 442 Civil Rights — Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability, age,
religion, retaliation)

«(if pro se, select this deck)*

(7) 1. FOLA/Privacy Act

Cc) 895 Freedom of Information Act
Cc) 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

CJ J. Student Loan

CI 182 Recovery of Defaulted
Student Loan
{excluding veterans)

[] K. Labor/ERISA
(non-employment

(_] 710 Fair Labor Standards Act
[1720 Labor/Mgmt. Relations
[J 740 Labor Railway Act
LJ751 Family and Medical

Leave Act
[_] 790 Other Labor Litigation
{J} 791 Empl. Ret. Inc. Security Act

LL. Other Civil Rights
(non-employment)

[__]441 Voting (if not Voting Rights
Act)

(_}443 Housing/Accommodations

(__]440 Other Civil Rights

[1445 Americans w/Disabilities
Employment

(]446 Americans wiDisabilities —
Other

[_]448 Education

CO M. Contracr

Cc) 110 Insurance
CI 120 Marine
[_] 130 Miller Act
140 Negotiable Instrument
150 Recovery of Overpayment
& Enforcement of
Judgment
C153 Recovery of Overpayment
of Veteran’s Benefits
[[_] 160 Stockholder’s Suits
CJ 190 Other Contracts
(] 195 Contract Product Liability
[_] 196 Franchise

[LC] N. Three-Judge
Court

[] 441 Civil Rights - Voting
{if Voting Rights Act)

V. ORIGIN
[2] 1 Original
Proceeding from State
Court

(]2 Removed [[_]3 Remanded

F—]4 Reinstated [—]5 Transferred [[—) 6 Multi-district [7]? Appeal to

(]8 Multi-district

from Appellate or Reopened from another Litigation District Judge Litigation—-
Court district (specify) from Mag. Direct File
Judge

VI. CAUSE OF ACTION (CITE THE US. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
APA; Challenge to HHS policy changes regarding release of unaccompanied children to their family members

VI. REQUESTED IN CHECK IF THIS 1S A CLASS DEMAND $ Check YES only if demanded incomplamnt
COMPLAINT ACTIONUNDER ER here JURY DEMAND: YES NO
VU. RELATED CASE(S) (See instruction) YES C_] NO Cc] If yes, please complete related case form
IF ANY
DATE: May 8, 2025 SIGNATURE OF ATTORNEY OF RECORD __ s/ David Hinojosa

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET J5-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet andthe mformation contained herein neither replaces nor supplements the filings and services of pleadimgs or other papersas required
by law, exceptas provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for eachcivil complaint filed
Listed below are tips for completing the civil coversheet. These tips coimcide with the Roman Numerals on the cover sheet

L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b} County of residence: Use 11001 to indicate plaintiffif resident
of Washington, DC, 88888 if plaintiffs resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States

Ti. CITIZENSHIP OF PRINCIPAL PARTIES: This section ts completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section [I

Tv, CASE ASSIGNMENT AND NATURE OF SUIT. The assignment ofa judge to your case will depend on the category you select that best

represents the pnimary cause of action found mn your complaint. You may select only one category. You mustalso select one cormesponding
nature of suit found under the category of the case

Vi CAUSE OF ACTION: Cite the US. Civil Statute underwhich youare filing and write a bref statement of the pnmary cause.

VIIL.
the Clerk’s Office

RELATED CASE(S), IF ANY: Ifyou indicated that there is a related case, you must complete a related case form, which may be obtained from

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form,

